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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 18-cv-25337-KMM

    ANTONIO CABALLERO,

             Plaintiff,
    vs.

    FUERZAS ARMADAS
    REVOLUCIONARIOS DE COLOMBIA,
    etc., et al.,

         Defendants.
    _____________________________________/

                      DECLARATION OF RAUL GORRIN BELISARIO

             I, Raúl Gorrín Belisario, declare the following under oath based on personal
    knowledge:

          1. Neither I nor any entity that I beneficially own or control is an agent or
    instrumentality of the Fuerzas Armadas Revolucionarios De Colombia (“FARC”).
          2. I have never conducted a transaction with a member of the FARC.
          3. I have never had a relationship with a member of the FARC.
          4. I have never been involved in a narcotics transaction.
          5. I have never been a frontman for the FARC.
          6. I have never laundered proceeds for the FARC or associated with someone from the
    FARC.
          7. Neither I nor any entity that I beneficially own or control, directly or indirectly is or
    was associated with, provided material assistance to, engaged in financial transactions
    with, or supported in any way, financially, logistically, or otherwise, the FARC.
          8. I deny the criminal allegations set forth in the Superseding Indictment in U.S. v.
    Gorrin Belisario, S.D. Fla. No. 18-cr-80160-WPD (D.E. 44), and the January 8, 2019
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    Treasury Press Release (https://home.treasury.gov/news/press-releases/sm583), accusing
    me of (1) violations of the Foreign Corrupt Practices Act, 15 U.S.C. § 78dd-1 (“FCPA”)
    in Venezuela involving the Venezuelan government’s foreign currency exchange program
    from 2008 to 2017 and (2) money laundering based on financial transactions that allegedly
    promoted the carrying on of (a) FCPA violations and (b) an offense against a foreign nation,
    specifically Venezuela, involving bribery of a public official and the misappropriation,
    theft, and embezzlement of public funds by or for the benefit of a public official. For
    example, I did not “acquire[] a financial institution in the Dominican Republic for the
    purpose of laundering money and paying bribes to Venezuelan officials.” Superseding
    Indictment at 10. I did not make corrupt payments for the benefit of Alejandro Andrade
    Cedeno, Claudia Patricia Diaz Guillen and Adrian Jose Velasquez Figueroa. Id. at 10-14.
    I did not launder illicit funds by engaging in financial transactions with the intent to
    promote the specified unlawful activity charged. Id. at 14.
       9. I deny that any of the funds used to finance any of the entities (D.E. 150-2) and any
    of real properties (D.E. 150-3) in which I have an ownership or controlling interest are
    derived from or traceable to criminal activity.
       10. I deny all allegations in the Supplemental Sworn Declaration of John Robert
    McBrien, D.E. 81-1, that implicate me in connection with the FARC, including but not
    limited to alleged criminal activity regarding the Venezuelan government’s foreign
    currency exchange program, money laundering, and the specific allegations in the
    highlighted copy of his declaration (attached as an Exhibit hereto). For example, I have
    never been a “vehicle for money laundering for, and which was inextricably tied to the
    bribery of, FARC operatives within or surrounding the Maduro regime . . . while such
    FARC operatives were acting in support of Maduro’s grip on power which enabled his vast
    international narcotics trafficking of FARC cocaine[.]” I have not “materially assisted in”
    or “provided financial or technological support for or to” or engaged in “providing of goods
    or services in support of, the international narcotics trafficking activities of the FARC.”
    McBrien Declaration, D.E. 81-1 at ¶ 40. I dispute McBrien’s assertion (opinion /


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    conclusion) that I and the entities that I beneficially own are agents or instrumentalities of
    the FARC.
       11. Today I was shown documents titled “Writ of Execution” that are in the Court file
    of SDFLA Case No. 18-cv-25337-KMM at D.E. 156, 159 and 161, which I understand
    were under seal until at least September 20, 2022. Before those documents were unsealed,
    I had not seen or received them; nor was I was aware that any of them were left at real
    properties that I beneficially own or control. Since 2020 no one has resided in the dwellings
    at 18555 Collins Ave #4401 owned by Posh 8 Dynamic (see D.E. 168), 7043 Fisher Island
    owned by Planet 2, Reaching (see D.E. 169) or 144 Isla Dorada Blvd owned by RIM Group
    Investments III Corp (see D.E. 174).
       12. I am a citizen and resident of Venezuela. I am not a lawful permanent resident of
    the United States. I reside and work in Caracas, Venezuela.
           Pursuant to 28 U.S.C. § 1746 I, Raúl Gorrín Belisario, declare under penalty of
    perjury under the laws of the United States of America that the foregoing is true and correct,
    and that I am physically located outside the geographic boundaries of the United States,
    Puerto Rico, the United States Virgin Islands, and any territory or insular possession
    subject to the jurisdiction of the United States.
           Executed on this 14th day of November 2022 at Caracas, Venezuela.

                  Signed:        ___________________
                  Name:          Raúl Gorrín Belisario




                                               11/14/2022 11:25 p. m.




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                 EXHIBIT 1
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    ANTONIO CABALLERO,

           Plaintiff,

    vs.

    FUERZAS ARMADAS
    REVOLUCIONARIAS DE COLOMBIA,
    a/k/a FARC-EP a/k/a REVOLUTIONARY
    ARMED FORCES OF COLOMBIA; and
    THE NORTE DE VALLE
    CARTEL,

          Defendants.
    ___________________________________/


          SUPPLEMENTAL SWORN DECLARATION OF JOHN ROBERT MCBRIEN
            REGARDING AGENTS AND INSTRUMENTALITIES OF THE FARC

    I, John Robert McBrien, declare the following under oath:

           1.      On July 14, 2020, I executed a Sworn Declaration of John Robert McBrien

    Regarding Agencies and Instrumentalities of the FARC (the “July McBrien Sworn

    Declaration”). I hereby opine that the more appropriate plural of the term of art “agent and

    instrumentality” is “agents and instrumentalities,” and that latter phrase is used throughout this

    declaration. In all cases in this and prior declarations the phrase “agencies and instrumentalities”

    means “agents and instrumentalities.”

           2.      I hereby further opine that all of the individuals and entities referenced in the June

    18, 2020 U.S. Treasury Department Press Release, which is referenced in paragraph 24 of my

    July McBrien Sworn Declaration, and that were designated Specially Designated Nationals

    (“SDN”) by the Office of Foreign Assets Control (“OFAC”) on June 18, 2020, are agents and

    instrumentalities of the FARC. See Press Release, U.S. Treasury Dept., Treasury Targets

    Sanctions Evasion Network Supporting Corrupt Venezuelan Actors (June 18, 2020),


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   “predominantly cocaine,” due to its “porous western border with Colombia, current economic

   crisis, weak judicial system, sporadic international drug control cooperation, and permissive and

   corrupt environment …” See U.S. DEP’T    OF   STATE, BUREAU   FOR INTERNATIONAL   NARCOTICS   AND


   LAW ENFORCEMENT AFFAIRS, INTERNATIONAL NARCOTICS CONTROL STRATEGY REP., Vol. I, DRUG

   AND   CHEMICAL CONTROL (March 2018) at 282, attached hereto as Exhibit A. Of the hundreds of

   tons of cocaine passing through Venezuela each year about two-thirds is targeted to the United

   States. See Antonio Maria Delgado, Alianza con las FARC termino convirtiendo a Venezuela en

   un narcoestado, EL NUEVO HERALD (June 26, 2017), attached hereto as Exhibit B.

            5.     Venezuela also harbors the FARC, in addition to being a transit country for

   cocaine. Some years ago, a bipartisan Congressional Delegation (“CODEL”) “examine[d] ... the

   threat to the Southwest border [of South America] from terrorists and drug cartels…” See U.S. H.

   COMM. ON HOMELAND SECURITY, 112TH CONG., REP. ON A LINE IN THE SAND: COUNTERING

   CRIME,   VIOLENCE AND TERROR AT THE SOUTHWEST BORDER (2d Sess. 2012) (containing

   Subcommittee Chairman McCaul Letter to National Security Advisor on Congressional

   Delegation Findings) (“A Line in the Sand”) attached hereto as Exhibit C. The CODEL also

   observed that “Venezuela is a safe haven for not only Iran and Hezbollah, but also the

   FARC.” Id. at 3 (emphasis added). And, it noted the Colombian government’s “evidence of a

   Venezuelan Army helicopter providing operational support to the FARC.” Id. And it also noted

   “evidence of Venezuelan government officials working for the FARC narco-terrorist

   organization.” Id.

            6.     Venezuela supports the FARC in order to “mitigate the perceived threat of United

   States intervention in the region.” See id. at 12. The FARC has also trained “pro-Chavez

   militants” and has assassinated “anti-Chavez politicians within Venezuela.” See id. The FARC



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   has also “exchang[ed) military training for access to health care and other logistical support

   …” See Int’l Institute for Strategic Studies, the FARC Files: Venezuela Ecuador and the Secret

   Archive of ‘Raul Reyes (2011) (“The FARC Files”) at 62, attached hereto as Exhibit D

   (emphasis added).

            7.        In March of 2008, Colombian armed forces raided a FARC jungle camp in

   Ecuador. See The FARC Files at 15. That Operation killed FARC operatives, including FARC

   secretariat Luis Edgar Devia Silva (a/k/a Raul Reyes). Id. During the raid, Devia’s metal briefcase

   was seized and within it computers and data “holding sensitive correspondence and documents.”

   Id. at 16.

            8.        The data revealed “direct channels of communication … between FARC and the

   Venezuelan government at the highest level, principally through Rodriguez Chacin as [former

   Venezuelan President] Chavez’s delegate.” See Id. at 62. The “close ties” between Rodriguez

   Chacin and Chavez “allowed the [Venezuelan] administration’s relationship with FARC, and

   particularly its most sensitive dimensions, to be managed when necessary outside institutional

   channels and on the basis of direct presidential authority.” Id. Furthermore, the data revealed

   FARC ties to “other members of Chavez’s staff, the Venezuelan Foreign Ministry, other

   ministries.” Id.

            9.        Notably, Hugo Chavez offered the FARC at least two vehicles for receiving

    substantial income from the sale of Venezuelan oil, “in both cases with the cooperation of the

    manager of PDVSA.” See The FARC Files at 148. The FARC could either do so through “a

    business in which we [FARC] receive a quota of oil in order to sell it abroad, which would leave

    us [FARC] with a juicy profit,” or the FARC could “use funds from the ‘dossier’ to create ‘a




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    profitable business for investments in Venezuela’ that would sell ‘petrol to Colombia, or in

    Venezuela’ and be awarded ‘state contracts.’” Id.

           10.     PdVSA became a front organization for illicit activity, first with former

    Venezuelan President Chavez, following with current Venezuelan President Nicolas Maduro

    (“Maduro”). See Roger F. Noriega, Venezuela: Rise of a Narcostate, American Enterprise

    Institute (Aug. 11, 2015), http://www.aei.org/ publication/venezuela-rise-of-a-narcostate/; see

    also Press Release, U.S. Dep’t of Treasury, Treasury Sanctions Venezuela's State-Owned Oil

    Company Petroleos de Venezuela, S.A. (Jan. 28, 2019), https://home.treasury.gov/news/press-

    releases/sm594. “[B]eginning in 2005, Chavez personally directed the exchange of vast sums

    of oil revenue for cocaine with the Colombian Fuerzas Armadas Revolucionarias de

    Colombia (FARC) guerrillas . . . .” See Roger F. Noriega, Venezuela: Rise of a Narcostate,

    American Enterprise Institute (Aug. 11, 2015), http://www.aei.org/ publication/venezuela-rise-

    of-a-narcostate/.

           11.     Douglas Farah has testified that “[t]he primary money laundering structure for the

    FARC (as well as the Maduro regime and other criminal groups) is the Venezuelan state oil

    company PDVSA . . . .” See Adapting US. Counternarcotics Efforts in Colombia: Hearing

    Before the Senate Caucus on International Narcotics Control (Sept. 12, 2017) (testimony of

    Douglas Farah, President, IBI Consultants LLC, and Senior Visiting Research Fellow, National

    Defense University Center for Complex Operations) at 5 attached hereto as Exhibit E.

           12.     In addition to money laundering, PdVSA has also helped the FARC purchase

    arms. PdVSA was involved in a proposed “three-way deal under which China would give some

    weapons to Venezuela and others to FARC . . . .” The FARC Files at 96. As compensation for

    the agreement, “Venezuela would give China oil to pay for both its own and FARC’s weapons,



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    and FARC would pay Venezuela the difference in cash.” Id. The FARC sought “[s]urface-to-air

    missles,” id. “0.5 calibre machine guns, rifles and ammunition,” id., to fulfill the FARC’s

    “Strategic Plan.” Id. It is my opinion that PdVSA is an agent and instrumentality of the FARC.

           13.     It is also my opinion that subsidiaries owned, directly or indirectly, 50 percent or

    more by PdVSA, are also blocked entities and that any assets titled in or held in the name of such

    subsidiary entities are blocked assets.    Specifically, PdVSA owns, directly or indirectly, 50

    percent or more of the following entities: PDV Marina SA; Aceites Y Solventes Venezolanos

    SA; Petro San Felix SA a/ka/ Petroanzoategui SA; Vanfleet Asphalt Ltd.; Vanfleet Products Ltd;

    and Vanfleet Ltd. My conclusion that PdVSA owns 50% or more of the aforementioned entities

    is supported by information obtained from a bank who has blocked accounts in the names of

    such entities on the grounds that its records show for each entity that “This entity is majority

    owned (50% or more) by Petroleos de Venezuela S.A. (PdVSA) . . . .” In addition, I have

    reviewed materials from PdVSA’s website or from the website of a government agency (the

    “Ministerio deo Poder Popular para el Processo Social de Trabajo”), attached hereto as Exhibit

    I, that include its 2016 audited financial statements and official communications of PdVSA.

                       The Scheme to Avoid U.S. Sanctions on Venezuela’s Oil Sector

           14.     As stated in the June 18, 2020 Press Release, the aforementioned June 2020

   Designated Individuals and Entities were designated as SDNs by OFAC for their involvement

   with the “illegitimate Maduro regime,” which includes Maduro’s oil minister and U.S.-designated

   Kingpin Tareck El Aissami Maddah (“El Aissami”), and “Petroleos de Venezuela, S.A.

   (PdVSA), its primary conduit for corruption,” for “their activities in or associated with a network

   attempting to evade United States sanction on Venezuela’s oil sector.” See Press Release, U.S.

   Treasury Dept., Treasury Targets Sanctions Evasion Network Supporting Corrupt Venezuelan



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   Actors (June 18, 2020), https://home.treasury.gov/news/press-releases/sm1038 (“Maduro’s oil

   minister and U.S.-designated Kingpin Tareck El Aissami Maddah (El Aissami) has enlisted a

   network of facilitators, some of whom are designated today, to orchestrate opaque schemes to

   broker the re-sale of over 30 million barrels of Venezuelan-origin crude oil in order to benefit

   from the proceeds.”).

           15.    The June 2020 Designated Individuals and Entities, including Joaquin Leal

   Jimenez (“Leal”), have cooperated with FARC Agent and Instrumentality Alex Nain Saab Moran

   (“Saab”) and FARC operatives within the illegitimate Maduro Regime “to evade U.S. sanctions

   and assist in the sale of Venezuelan-origin crude oil.” Such June 2020 Designated Individuals and

   Entities have coordinated with, and/or assisted, various FARC operatives, including without

   limitation, Maduro, Saab, and El Aissami.

           16.    Further, according to the June 18, 2020 Press Release:

                  In lieu of pre-payment for the contracted corn and water trucks, Libre
                  Abordo agreed to lift and broker the sale of Venezuelan-origin crude oil
                  supplied by PdVSA in a scheme orchestrated by Saab and El Aissami.
                  After the OFAC designation of Rosneft Trading and TNK Trading
                  International in February and March 2020, PdVSA leadership and regime
                  oil minister El Aissami sought new intermediaries to facilitate the sale of
                  PdVSA crude to buyers primarily located in Asia. Libre Abordo agreed
                  with PdVSA to facilitate the re-sale of a significant amount of crude oil in
                  a scheme to help PdVSA evade U.S. sanctions. Libre Abordo largely
                  replicated Rosneft Trading’s operations, including by marketing
                  Venezuelan oil to the same buyers in Asia, and using virtually the same
                  routes and shipment processes…Libre Abordo played a critical role in
                  helping PdVSA liquidate a significant amount of its inventory and drain
                  its limited oil storage facilities. As of May 31, 2020, when Libre Abordo
                  claimed that it was bankrupt, it lifted and re-sold over 30 million barrels of
                  Venezuelan crude oil. Libre Abordo was designated today for operating
                  in the oil sector of the Venezuelan economy and because it has
                  materially assisted, sponsored, or provided financial, material, or
                  technological support for, or goods or services to or in support of,
                  PdVSA.



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    See Press Release, U.S. Treasury Dept., Treasury Targets Sanctions Evasion Network

    Supporting Corrupt Venezuelan Actors (June 18, 2020), https://home.treasury.gov/news/press-

    releases/sm10381 (emphasis added). Moreover, “Schlager Business Group was designated today

    for operating in the oil sector of the Venezuelan economy and because it has materially assisted,

    sponsored, or provided financial, material, or technological support for, or goods or services to or

    in support of, PdVSA.” Id.

              And, furthermore with respect to Veronica Esparza Garcia, Olga Maria Zepeda, and

    Libre Abordo, S.P. de C.B. OFAC has stated:

                      [Olga Maria] Zepeda [Esparza] and [Veronica] Esparza [Garcia] were
                      both designated today for operating in the oil sector of the Venezuelan
                      economy and for having materially assisted, sponsored, or provided
                      financial, material, or technological support for, or goods or services to
                      or in support of, PdVSA.

    Id. (emphasis added). With respect to Joaquin Leal’s involvement in the scheme, OFAC

    stated:

                      Leal is the critical conduit between Libre Abordo, Schlager Business
                      Group, and their owners, and PdVSA and Saab. Leal has been
                      coordinating the purchase and sale of Venezuelan-origin crude oil from
                      PdVSA and its subsidiary, PdVSA Petroleo, S.A., bringing knowledge of
                      the global oil sector and facilitating the transport and re-sale to buyers.

    1 On February 18, 2020, OFAC designated Rosneft Trading S.A. (“RTSA”) as an SDN and on March 12, 2020,
    OFAC designated TNK Trading International S.A. (“TTI”) as an SDN. See Press Release, U.S. Treasury Dept.,
    Treasury Targets Additional Russian Oil Brokerage Firm for Continued Support of Maduro Regime (March 12,
    2020), https://home.treasury.gov/news/press-releases/sm937. “TNK International S.A. is another Rosneft Subsidiary
    brokering the sale and transport of Venezuelan crude oil, which is subject to sanction.” See id. “TTI is involved in
    the trading, processing, and transport of raw materials, in particular unrefined petroleum and petroleum products.”
    Id. “OFAC also designated RTSA in February of this year for operating in the oil sector of the Venezuelan economy
    as well as its president Didier Casimiro for having acted or purposed to act for or on behalf of, directly, or indirectly,
    RTSA.” Id. OFAC stated:
             as a result of today’s action, all property and interests in property of TTI that are in the United
             States or in the possession or control of U.S. persons, and of any entities that are owned, directly
             or indirectly, 50 percent or more by the designated individuals and entity, are blocked and must be
             reported to OFAC.
    Id. Both Rosneft and TNK Trading International S.A. “handled a large percentage of Venezuela’s oil exports in
    2019. In January 2020, TTI [TNK Trading International] purchased nearly 14 million barrels of crude oil from
    Petroleos de Venezuela (PdVSA).” Id. Given the activities of TTI and RTSA, it is my opinion that TTI, RTSA, and
    Didier Casimiro, are agents and instrumentalities of the FARC.

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                   Leal was designated today for operating in the oil sector of the Venezuelan
                   economy and for having materially assisted, sponsored, or provided
                   financial, material, or technological support for, or goods or services to or
                   in support of, PdVSA.

   Id. (emphasis added).

           17.     Further, it is my opinion that Leal used Panama as a venue for hiding the proceeds

  relating to his illicit activities on behalf of El Aissami and PdVSA above. For example, Kaibab

  International Corp. is a Panamanian entity whose directors and officers include straw men such as

  Ilvis Kemion Avila, Ivan Alexis Iturralde Moreno, and Omar Jose Labrador Romero.                   See

  Gonzalo Guillén, The Panamanian Front Firm of the Colombian Attorney General Has

  Executives Linked to the Convicted Fraudster David Murcia Guzmán, La Nueva Prensa (October

  22,   2018)      https://www.lanuevaprensa.com.co/component/k2/la-firma-pantalla-panamena-del-

  fiscal-general-colombiano-tiene-directivos-ligados-al-estafador-convicto-david-murcia-guzman

  (last visited September 1, 2020) (title translated from Spanish original). These are documented

  straw men to wit:

                   Ultra Mega Develoment S.A. and two other Panamanian shell companies
                   (HBM BVI Ltda. and Point Financial Ltda.) renounced the on-site
                   signature of the Colombian Prosecutor by means of the writing mentioned
                   above and were replaced by the prestanombres Ilvis Kemion Ávila, Iván
                   Alexis Iturralde Moreno and Ómar José Labrador Romero, who
                   continue today on the board of directors of Amanda Advisors SA, that of
                   the Colombian Prosecutor.

   Id. (emphasis added and text translated from Spanish original). The law firm that appears as

  agent in Kaibab International Corp.’s corporate records on Exhibit F, has been fined by the

  British Virgin Islands Financial Services Commission in the amount of $20,000,000 for its

  “contraventions of the following sections of the Anti-Money Laundering and Terrorist Financing

  Code of Practice, 2008.” See British Virgin Islands Financial Services Commision, Patton,

  Moreno     and    Asvat   (BVI)    Limited    (Enforcement     Action    Date:    April   9,     2015),


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   “predominantly cocaine,” due to its “porous western border with Colombia, current economic

   crisis, weak judicial system, sporadic international drug control cooperation, and permissive and

   corrupt environment …” See U.S. DEP’T    OF   STATE, BUREAU   FOR INTERNATIONAL   NARCOTICS   AND


   LAW ENFORCEMENT AFFAIRS, INTERNATIONAL NARCOTICS CONTROL STRATEGY REP., Vol. I, DRUG

   AND   CHEMICAL CONTROL (March 2018) at 282, attached hereto as Exhibit A. Of the hundreds of

   tons of cocaine passing through Venezuela each year about two-thirds is targeted to the United

   States. See Antonio Maria Delgado, Alianza con las FARC termino convirtiendo a Venezuela en

   un narcoestado, EL NUEVO HERALD (June 26, 2017), attached hereto as Exhibit B.

            5.     Venezuela also harbors the FARC, in addition to being a transit country for

   cocaine. Some years ago, a bipartisan Congressional Delegation (“CODEL”) “examine[d] ... the

   threat to the Southwest border [of South America] from terrorists and drug cartels…” See U.S. H.

   COMM. ON HOMELAND SECURITY, 112TH CONG., REP. ON A LINE IN THE SAND: COUNTERING

   CRIME,   VIOLENCE AND TERROR AT THE SOUTHWEST BORDER (2d Sess. 2012) (containing

   Subcommittee Chairman McCaul Letter to National Security Advisor on Congressional

   Delegation Findings) (“A Line in the Sand”) attached hereto as Exhibit C. The CODEL also

   observed that “Venezuela is a safe haven for not only Iran and Hezbollah, but also the

   FARC.” Id. at 3 (emphasis added). And, it noted the Colombian government’s “evidence of a

   Venezuelan Army helicopter providing operational support to the FARC.” Id. And it also noted

   “evidence of Venezuelan government officials working for the FARC narco-terrorist

   organization.” Id.

            6.     Venezuela supports the FARC in order to “mitigate the perceived threat of United

   States intervention in the region.” See id. at 12. The FARC has also trained “pro-Chavez

   militants” and has assassinated “anti-Chavez politicians within Venezuela.” See id. The FARC



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   has also “exchang[ed) military training for access to health care and other logistical support

   …” See Int’l Institute for Strategic Studies, the FARC Files: Venezuela Ecuador and the Secret

   Archive of ‘Raul Reyes (2011) (“The FARC Files”) at 62, attached hereto as Exhibit D

   (emphasis added).

            7.        In March of 2008, Colombian armed forces raided a FARC jungle camp in

   Ecuador. See The FARC Files at 15. That Operation killed FARC operatives, including FARC

   secretariat Luis Edgar Devia Silva (a/k/a Raul Reyes). Id. During the raid, Devia’s metal briefcase

   was seized and within it computers and data “holding sensitive correspondence and documents.”

   Id. at 16.

            8.        The data revealed “direct channels of communication … between FARC and the

   Venezuelan government at the highest level, principally through Rodriguez Chacin as [former

   Venezuelan President] Chavez’s delegate.” See Id. at 62. The “close ties” between Rodriguez

   Chacin and Chavez “allowed the [Venezuelan] administration’s relationship with FARC, and

   particularly its most sensitive dimensions, to be managed when necessary outside institutional

   channels and on the basis of direct presidential authority.” Id. Furthermore, the data revealed

   FARC ties to “other members of Chavez’s staff, the Venezuelan Foreign Ministry, other

   ministries.” Id.

            9.        Notably, Hugo Chavez offered the FARC at least two vehicles for receiving

    substantial income from the sale of Venezuelan oil, “in both cases with the cooperation of the

    manager of PDVSA.” See The FARC Files at 148. The FARC could either do so through “a

    business in which we [FARC] receive a quota of oil in order to sell it abroad, which would leave

    us [FARC] with a juicy profit,” or the FARC could “use funds from the ‘dossier’ to create ‘a




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    profitable business for investments in Venezuela’ that would sell ‘petrol to Colombia, or in

    Venezuela’ and be awarded ‘state contracts.’” Id.

           10.     PdVSA became a front organization for illicit activity, first with former

    Venezuelan President Chavez, following with current Venezuelan President Nicolas Maduro

    (“Maduro”). See Roger F. Noriega, Venezuela: Rise of a Narcostate, American Enterprise

    Institute (Aug. 11, 2015), http://www.aei.org/ publication/venezuela-rise-of-a-narcostate/; see

    also Press Release, U.S. Dep’t of Treasury, Treasury Sanctions Venezuela's State-Owned Oil

    Company Petroleos de Venezuela, S.A. (Jan. 28, 2019), https://home.treasury.gov/news/press-

    releases/sm594. “[B]eginning in 2005, Chavez personally directed the exchange of vast sums

    of oil revenue for cocaine with the Colombian Fuerzas Armadas Revolucionarias de

    Colombia (FARC) guerrillas . . . .” See Roger F. Noriega, Venezuela: Rise of a Narcostate,

    American Enterprise Institute (Aug. 11, 2015), http://www.aei.org/ publication/venezuela-rise-

    of-a-narcostate/.

           11.     Douglas Farah has testified that “[t]he primary money laundering structure for the

    FARC (as well as the Maduro regime and other criminal groups) is the Venezuelan state oil

    company PDVSA . . . .” See Adapting US. Counternarcotics Efforts in Colombia: Hearing

    Before the Senate Caucus on International Narcotics Control (Sept. 12, 2017) (testimony of

    Douglas Farah, President, IBI Consultants LLC, and Senior Visiting Research Fellow, National

    Defense University Center for Complex Operations) at 5 attached hereto as Exhibit E.

           12.     In addition to money laundering, PdVSA has also helped the FARC purchase

    arms. PdVSA was involved in a proposed “three-way deal under which China would give some

    weapons to Venezuela and others to FARC . . . .” The FARC Files at 96. As compensation for

    the agreement, “Venezuela would give China oil to pay for both its own and FARC’s weapons,



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    and FARC would pay Venezuela the difference in cash.” Id. The FARC sought “[s]urface-to-air

    missles,” id. “0.5 calibre machine guns, rifles and ammunition,” id., to fulfill the FARC’s

    “Strategic Plan.” Id. It is my opinion that PdVSA is an agent and instrumentality of the FARC.

           13.     It is also my opinion that subsidiaries owned, directly or indirectly, 50 percent or

    more by PdVSA, are also blocked entities and that any assets titled in or held in the name of such

    subsidiary entities are blocked assets.    Specifically, PdVSA owns, directly or indirectly, 50

    percent or more of the following entities: PDV Marina SA; Aceites Y Solventes Venezolanos

    SA; Petro San Felix SA a/ka/ Petroanzoategui SA; Vanfleet Asphalt Ltd.; Vanfleet Products Ltd;

    and Vanfleet Ltd. My conclusion that PdVSA owns 50% or more of the aforementioned entities

    is supported by information obtained from a bank who has blocked accounts in the names of

    such entities on the grounds that its records show for each entity that “This entity is majority

    owned (50% or more) by Petroleos de Venezuela S.A. (PdVSA) . . . .” In addition, I have

    reviewed materials from PdVSA’s website or from the website of a government agency (the

    “Ministerio deo Poder Popular para el Processo Social de Trabajo”), attached hereto as Exhibit

    I, that include its 2016 audited financial statements and official communications of PdVSA.

                       The Scheme to Avoid U.S. Sanctions on Venezuela’s Oil Sector

           14.     As stated in the June 18, 2020 Press Release, the aforementioned June 2020

   Designated Individuals and Entities were designated as SDNs by OFAC for their involvement

   with the “illegitimate Maduro regime,” which includes Maduro’s oil minister and U.S.-designated

   Kingpin Tareck El Aissami Maddah (“El Aissami”), and “Petroleos de Venezuela, S.A.

   (PdVSA), its primary conduit for corruption,” for “their activities in or associated with a network

   attempting to evade United States sanction on Venezuela’s oil sector.” See Press Release, U.S.

   Treasury Dept., Treasury Targets Sanctions Evasion Network Supporting Corrupt Venezuelan



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   Actors (June 18, 2020), https://home.treasury.gov/news/press-releases/sm1038 (“Maduro’s oil

   minister and U.S.-designated Kingpin Tareck El Aissami Maddah (El Aissami) has enlisted a

   network of facilitators, some of whom are designated today, to orchestrate opaque schemes to

   broker the re-sale of over 30 million barrels of Venezuelan-origin crude oil in order to benefit

   from the proceeds.”).

           15.    The June 2020 Designated Individuals and Entities, including Joaquin Leal

   Jimenez (“Leal”), have cooperated with FARC Agent and Instrumentality Alex Nain Saab Moran

   (“Saab”) and FARC operatives within the illegitimate Maduro Regime “to evade U.S. sanctions

   and assist in the sale of Venezuelan-origin crude oil.” Such June 2020 Designated Individuals and

   Entities have coordinated with, and/or assisted, various FARC operatives, including without

   limitation, Maduro, Saab, and El Aissami.

           16.    Further, according to the June 18, 2020 Press Release:

                  In lieu of pre-payment for the contracted corn and water trucks, Libre
                  Abordo agreed to lift and broker the sale of Venezuelan-origin crude oil
                  supplied by PdVSA in a scheme orchestrated by Saab and El Aissami.
                  After the OFAC designation of Rosneft Trading and TNK Trading
                  International in February and March 2020, PdVSA leadership and regime
                  oil minister El Aissami sought new intermediaries to facilitate the sale of
                  PdVSA crude to buyers primarily located in Asia. Libre Abordo agreed
                  with PdVSA to facilitate the re-sale of a significant amount of crude oil in
                  a scheme to help PdVSA evade U.S. sanctions. Libre Abordo largely
                  replicated Rosneft Trading’s operations, including by marketing
                  Venezuelan oil to the same buyers in Asia, and using virtually the same
                  routes and shipment processes…Libre Abordo played a critical role in
                  helping PdVSA liquidate a significant amount of its inventory and drain
                  its limited oil storage facilities. As of May 31, 2020, when Libre Abordo
                  claimed that it was bankrupt, it lifted and re-sold over 30 million barrels of
                  Venezuelan crude oil. Libre Abordo was designated today for operating
                  in the oil sector of the Venezuelan economy and because it has
                  materially assisted, sponsored, or provided financial, material, or
                  technological support for, or goods or services to or in support of,
                  PdVSA.



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    See Press Release, U.S. Treasury Dept., Treasury Targets Sanctions Evasion Network

    Supporting Corrupt Venezuelan Actors (June 18, 2020), https://home.treasury.gov/news/press-

    releases/sm10381 (emphasis added). Moreover, “Schlager Business Group was designated today

    for operating in the oil sector of the Venezuelan economy and because it has materially assisted,

    sponsored, or provided financial, material, or technological support for, or goods or services to or

    in support of, PdVSA.” Id.

              And, furthermore with respect to Veronica Esparza Garcia, Olga Maria Zepeda, and

    Libre Abordo, S.P. de C.B. OFAC has stated:

                      [Olga Maria] Zepeda [Esparza] and [Veronica] Esparza [Garcia] were
                      both designated today for operating in the oil sector of the Venezuelan
                      economy and for having materially assisted, sponsored, or provided
                      financial, material, or technological support for, or goods or services to
                      or in support of, PdVSA.

    Id. (emphasis added). With respect to Joaquin Leal’s involvement in the scheme, OFAC

    stated:

                      Leal is the critical conduit between Libre Abordo, Schlager Business
                      Group, and their owners, and PdVSA and Saab. Leal has been
                      coordinating the purchase and sale of Venezuelan-origin crude oil from
                      PdVSA and its subsidiary, PdVSA Petroleo, S.A., bringing knowledge of
                      the global oil sector and facilitating the transport and re-sale to buyers.

    1 On February 18, 2020, OFAC designated Rosneft Trading S.A. (“RTSA”) as an SDN and on March 12, 2020,
    OFAC designated TNK Trading International S.A. (“TTI”) as an SDN. See Press Release, U.S. Treasury Dept.,
    Treasury Targets Additional Russian Oil Brokerage Firm for Continued Support of Maduro Regime (March 12,
    2020), https://home.treasury.gov/news/press-releases/sm937. “TNK International S.A. is another Rosneft Subsidiary
    brokering the sale and transport of Venezuelan crude oil, which is subject to sanction.” See id. “TTI is involved in
    the trading, processing, and transport of raw materials, in particular unrefined petroleum and petroleum products.”
    Id. “OFAC also designated RTSA in February of this year for operating in the oil sector of the Venezuelan economy
    as well as its president Didier Casimiro for having acted or purposed to act for or on behalf of, directly, or indirectly,
    RTSA.” Id. OFAC stated:
             as a result of today’s action, all property and interests in property of TTI that are in the United
             States or in the possession or control of U.S. persons, and of any entities that are owned, directly
             or indirectly, 50 percent or more by the designated individuals and entity, are blocked and must be
             reported to OFAC.
    Id. Both Rosneft and TNK Trading International S.A. “handled a large percentage of Venezuela’s oil exports in
    2019. In January 2020, TTI [TNK Trading International] purchased nearly 14 million barrels of crude oil from
    Petroleos de Venezuela (PdVSA).” Id. Given the activities of TTI and RTSA, it is my opinion that TTI, RTSA, and
    Didier Casimiro, are agents and instrumentalities of the FARC.

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                   Leal was designated today for operating in the oil sector of the Venezuelan
                   economy and for having materially assisted, sponsored, or provided
                   financial, material, or technological support for, or goods or services to or
                   in support of, PdVSA.

   Id. (emphasis added).

           17.     Further, it is my opinion that Leal used Panama as a venue for hiding the proceeds

  relating to his illicit activities on behalf of El Aissami and PdVSA above. For example, Kaibab

  International Corp. is a Panamanian entity whose directors and officers include straw men such as

  Ilvis Kemion Avila, Ivan Alexis Iturralde Moreno, and Omar Jose Labrador Romero.                   See

  Gonzalo Guillén, The Panamanian Front Firm of the Colombian Attorney General Has

  Executives Linked to the Convicted Fraudster David Murcia Guzmán, La Nueva Prensa (October

  22,   2018)      https://www.lanuevaprensa.com.co/component/k2/la-firma-pantalla-panamena-del-

  fiscal-general-colombiano-tiene-directivos-ligados-al-estafador-convicto-david-murcia-guzman

  (last visited September 1, 2020) (title translated from Spanish original). These are documented

  straw men to wit:

                   Ultra Mega Develoment S.A. and two other Panamanian shell companies
                   (HBM BVI Ltda. and Point Financial Ltda.) renounced the on-site
                   signature of the Colombian Prosecutor by means of the writing mentioned
                   above and were replaced by the prestanombres Ilvis Kemion Ávila, Iván
                   Alexis Iturralde Moreno and Ómar José Labrador Romero, who
                   continue today on the board of directors of Amanda Advisors SA, that of
                   the Colombian Prosecutor.

   Id. (emphasis added and text translated from Spanish original). The law firm that appears as

  agent in Kaibab International Corp.’s corporate records on Exhibit F, has been fined by the

  British Virgin Islands Financial Services Commission in the amount of $20,000,000 for its

  “contraventions of the following sections of the Anti-Money Laundering and Terrorist Financing

  Code of Practice, 2008.” See British Virgin Islands Financial Services Commision, Patton,

  Moreno     and    Asvat   (BVI)    Limited    (Enforcement     Action    Date:    April   9,     2015),


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  https://www.bvifsc.vg/publications/patton-moreno-and-asvat-bvi-limited-0       (last     visited

  September 1, 2020). It is my opinion that Kaibab International Corp. and its directors above are

  presta-nombres for FARC Operative Leal and therefore are also agents and instrumentalities of

  the FARC, as Leal is involved in material assistance, financial support, or providing goods or

  services in support of, El Aissami and PdVSA both of whom materially support and assist the

  FARC in international narcotics trafficking activities.

          18.     Given the information contained herein (including, without limitation, under

  paragraph numbers 2 through 11 above), and contained in the source material cited herein, and

  given my knowledge and understanding of the operation of the FARC and its agents and

  instrumentalities, it is my opinion that the June 2020 Designated Individuals and Entities are

  agents and instrumentalities of the FARC.

          19.     I hereby further opine that Samark Lopez Bello (“Lopez Bello”) and all of the

  individuals and entities that are referenced in the February 13, 2017, U.S. Treasury Department

  Press Release titled “Treasury Sanctions Prominent Venezuelan Drug Trafficker Tareck El

  Aissami and His Primary Frontman Samark Lopez Bello” (referenced in paragraph 21 of my July

  McBrien Sworn Declaration) and/or appear on the related OFAC Chart, which were designated as

  SDNs by OFAC on February 13, 2017 (the “El Aissami and Lopez Bello Network”), are agents

  and instrumentalities of the FARC. See July McBrien Sworn Declaration at ¶ 21; see also Press

  Release, U.S. Treasury Dept., Treasury Sanctions Prominent Venezuelan Drug Trafficker Tareck

  El Aissami And His Primary Frontman Samark Lopez Bello (Feb. 13, 2017) (the “February 2017

  OFAC Press Release”); see also El Aissami and Lopez Bello Network Chart U.S. T REAS. DEPT.

  (Feb.                13,                 2017),              https://www.treasury.gov/resource-

  center/sanctions/Programs/Documents/20170213_el_aissami_lopez_bello_network.pdf.           Such



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  entities and individuals include: Lopez Bello, Yakima Trading Corporation, Yakima Oil Trading,

  LLP, Profit Corporation, C.A., Grupo Sahect, C.A., MFAA Holdings Limited, Servicios

  Tecnologicos Industriales, C.A., SMT Tecnologia, C.A., Alfa One, C.A., Agusta Grand I LLC,

  1425 Brickell Ave 63-F LLC, 1425 Brickell Avenue 64E LLC, 1425 Brickell Avenue Unit 46B,

  LLC, 200G PSA Holdings LLC, blocked aircraft N200VR, Gulfstream 200, Manufacturer’s

  Serial Number 133.

          20.     According to the February 2017 OFAC Press Release “El Aissami's primary

  frontman, Venezuelan national Samark Jose Lopez Bello (Lopez Bello), was also designated for

  providing material assistance, financial support, or goods or services in support of the

  international narcotics trafficking activities of, and acting for or on behalf of, El Aissami.” See

  February 2017 OFAC Press Release. And, as I previously opined in paragraph 22 of my July

  McBrien Sworn Declaration, El Aissami acted as an agency and instrumentality of the FARC by

  “... materially assisting in, or providing financial or technological support for or to, or providing

  goods or services in support of, the international narcotics trafficking activities of ... [FARC] ....”

  See July McBrien Sworn Declaration at ¶ 22 (citations omitted). I opine again, and re-affirm, that

  El Aissami is an agent and instrumentality of the FARC, and that as primary frontman to El

  Aissami, Lopez Bello is also an agent and instrumentality of the FARC.

          21.     Furthermore, the affidavits of experts Colonel Luis Miguel Cote and Douglas

  Farah, which were presented to the U.S. District Court for the Middle District of Florida on

  February 12, 2019 in Stansell, et al., v. FARC, et al., No. 19-cv-20896-RNS (S.D. Fla. Feb. 19,

  2019) also confirm that Lopez Bello and those that are part of the El Aissami and Lopez Bello

  Network are agents and instrumentalities of the FARC. See Affidavit of Colonel Luis Miguel




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  Cote and Affidavit of Douglas Farah, D.E. 17-1 and D.E. 17-2, respectively, Stansell, et al., v.

  FARC, et al., No. 19-cv-20896-RNS (S.D. Fla. Feb. 12, 2019).

          22.     And, in his February 19, 2019 Order in Stansell, et al., v. FARC, et al., No. 19-cv-

  20896-RNS (S.D. Fla. Feb. 19, 2019), after reviewing copious amounts of evidence presented by

  the Stansell plaintiffs, Judge Scola determined that all individuals and entities that are part of the

  El Aissami and Lopez Bello Network are agents and instrumentalities of the FARC:

                  …that the OFAC Kingpin Act designated members of the “EL AISSAMI
                  & LOPEZ BELLO NETWORK” (identified on OFAC Chart, ECF No.
                  18-1) are each an agency or instrumentality of the FARC, and their
                  blocked assets are therefore subject to attachment and execution
                  pursuant to TRIA and 18 U.S.C. 2333(e).

   Sealed Order (subsequently unsealed), D.E. 22 at 1-2, Stansell, et al., v. FARC, et al., No. 19-cv-

   20896-RNS (S.D. Fla. Feb. 19, 2019) (emphasis added).

          23.     Furthermore, as previously stated in my July McBrien Sworn Declaration:

                  [A]ny entity owned in the aggregate, directly or indirectly, 50 percent or
                  more by one or more of the FARC Agents, and each such entity (an
                  “Owned Entity”) is a blocked person. Further, each such Owned Entity
                  that is listed as blocked by OFAC is also an agent and instrumentality of
                  the FARC. See U.S. Dep't Treasury, Revised Guidance on Entities Owned
                  by Persons Whose Property and Interests in Property are Blocked, (Aug.
                  13, 2014), attached hereto as Exhibit G. And further, the property and
                  interests in property of any such an Owned Entity are blocked regardless
                  of whether the entity itself is listed in the annex to an Executive order or
                  otherwise placed on OFAC's list of Specially Designated Nationals
                  (“SDNs”).

   See July McBrien Sworn Declaration at ¶ 30.

          24.     Therefore, PYP International LLC is also an agent and instrumentality of the

  FARC because Lopez Bello, an agent and instrumentality of the FARC, owns “in the aggregate,

  directly or indirectly, 50 percent or more” of PYP International LLC. In fact, according to




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  production provided by Interaudi Bank on August 20, 2020, the pertinent part of which is attached

  hereto as Exhibit G, Lopez Bello has an 80% ownership interest in PYP International LLC.

                Simon Zerpa Delgado, The Banco Central de Venezuela, and the Ministerio de
                                 Poder Popular de Economia y Finanzas

          25.       In my July McBrien Sworn Declaration, I discussed how Alex Saab, El Aissami,

  Joaquin Leal Jimenez, Schlager Business Group S. de R.L de C.V. and Libre Abordo, S.A. de

  C.V. cooperated to evade U.S. sanctions and assist in the sale of Venezuela oil, including under

  the guise of the “oil for food” program. See July McBrien Sworn Declaration at ¶ 23. In my July

  McBrien Sworn Declaration, I stated:

                   From early 2018, as the Government [of Venezuela]. . . started using gold
                   currency to pay some contracts, to include the CLAP food contracts, and
                   Saab began working with Simon Alejandro Zerpa Delgado (Zerpa) to
                   help the government liquidate gold mined in Venezuela and convert it into
                   foreign currency. Zerpa was designated on July 26, 2017 . . . .

   Id. (emphasis added); see also Press Release, U.S. Treasury Dep’t Disrupts Corruption Network

   Stealing     From   Venezuela’s     Food    Distribution   Program,    CLAP     (July   25,   2019)

   https://home.treasury.gov/news/press-releases/sm74. It is my opinion that given Simon

   Alejandro Zerpa Delgado’s (“Zerpa”) activities, including, but not limited to, cooperating with

   Saab in the illicit gold program, Zerpa is an agent and instrumentality of the FARC.

          26.          Zerpa’s illicit activities are carried out using the Banco Central de Venezuela.

  The Banco Central de Venezuela (“BCV”) has also been designated a SDN by OFAC, and has

  been under the control of multiple OFAC designated individuals holding leadership position at the

  Bank, including Zerpa and William Antonio Contreras, both of whom OFAC stated “…are

  Directors of the bank and were designated by OFAC pursuant to E.O. 13692…” See Press

  Release, Treasury Sanctions Central Bank of Venezuela and Director of the Central Bank of

  Venezuela (April 17, 2019) https://home.treasury.gov/news/press-releases/sm661.


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            27.    The BCV is a central player along with the FARC in carrying out the illicit gold

  mining program of Venezuela. The scheme works as follows:

                   1. Miners extract gold from the Arco Minero in eastern Venezuela under
                   the supervision of the Colombian guerrilla groups ELN and FARC. The
                   gold is then purchased by Venezuela’s state-owned gold company,
                   Minerven, through a joint gold venture with Turkey called Mibiturven
                   S.A.

                   2. The gold is then turned over to CVG MINERVEN, the state-owned
                   Venezuelan mining conglomerate that processes the gold and packages it
                   for transport to Caracas.

                   3. Once processed, the gold is transported by the Venezuelan National
                   Guard to the Central Bank of Venezuela (BCV), who prepares it for
                   international shipment. The gold is moved from BCV to Maiquetia
                   International Airport using the private security firm Transporte
                   Panamericano and loaded onto one of several, private airliners, or a
                   commercial Turkish Airlines flight, with weekly service to Istanbul via
                   Havana…

   See Joseph M. Humire, Iran, Turkey, and Venezuela’s Super Facilitator: Who is Alex Saab?,

   Center         for     a       Secure        Free       Society       (June       30,         2020),

   https://www.securefreesociety.org/research/who-is-alex-saab/ (last visited September 8, 2020)

   (emphasis added).

            28.     The role of BCV is critical to both the FARC and the Cartel of the Suns. By

  preparing the gold for international shipment, the BCV enables the sale of the illicit gold which

  perpetuates the symbiotic relationship between the Maduro regime and the FARC, to wit:

                   The ELN, as well as the FARC, serves the dual purpose of providing
                   funds to the Maduro regime while also helping the regime retain territorial
                   control in remote, but strategically vital areas bordering Colombia and
                   Guyana. The armed groups and the regime have a complex scheme in
                   which the former operate the mines and the latter sells the minerals
                   through state-owned companies.

   See Diego Area, Domingo Sadurní, Douglas Farah, The Maduro Regime’s Illicit Activities: A

   Threat to Democracy in Venezuela and Security in Latin America, Atlantic Council (August 13,


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   2020) https://www.atlanticcouncil.org/in-depth-research-reports/issue-brief/the-maduro-regimes-

   illicit-activities-a-threat-to-democracy-in-venezuela-and-security-in-latin-america/ (last visited

   Sept. 8, 2020). A recent example of the results of the illicit gold mining and sale activities to

   which the BCV is a key player, is as follows:

                   …. the Maduro regime sold 73.2. tons of Venezuelan gold to companies in
                   the United Arab Emirates and Turkey in 2018…. But despite the regime’s
                   sales in 2018, gold reserves in the BCV grew by eleven tons. Given the
                   regime’s known criminal partnership with the ELN and FARC, the gold is
                   likely to have been mined illegally, sold to the regime at a significant
                   discount, moved to Guyana, Suriname, or Nicaragua, and exported as
                   originating in those countries rather than Venezuela in order to avoid
                   detection.

   See id.

             29.   The BCV’s role is also a “hedge bet” or “offset” to the narcotrafficking efforts of

  the FARC and the Cartel of the Suns.           A recent Insight Crime Report by the Venezuela

  Investigate Unit described the “hedge” or “offset as follows:

                   Meanwhile, heightened US anti-narcotics operations in the Caribbean
                   have made several large seizures allegedly linked to the Maduro
                   government, and are likely making it more difficult for foreign currency to
                   enter Venezuela through drug trafficking.

                   All this means that gold – long an important economic crutch for the
                   Maduro government – is now more vital than ever.

                   The precious metal, seen as a safe investment in troubled times, has
                   reached a multi-year trading high since the onset of the coronavirus.

                   The result has been an accelerated draining of gold reserves from the
                   Venezuelan Central Bank (Banco Central de Venezuela – BCV), including
                   large quantities swapped for oil refinery parts with international allies such
                   as Iran. Nine tons of gold were traded from the BCV in April alone,
                   leaving Venezuela with its lowest hard currency reserves in 30 years,
                   according to Bloomberg.




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   See Venezuela Investigative Unit, Venezuela Relies on Gold as Other Criminal Economies Dry

   Up, InSight Crime (June 1, 2020) https://www.insightcrime.org/news/analysis/venezuela-

   depends-gold-industry/ (last visited Sept. 8, 2020) (emphasis in original and emphasis added).

          30.     Given the critical role of the BCV in perpetuating the illicit gold program run by

   the Maduro regime and the FARC, including without limitation, by participating in the

   international shipment and sale of illicitly mined gold and by providing the “hedge” or “offset”

   against narco-trafficking losses incurred due to US anti-narcotics operations, the activities of the

   BCV have materially assisted in, and provided financial or technological support for or to, or

   providing of goods or services in support of, the international narcotics trafficking activities of

   the FARC. I hereby opine that the BCV is an agent and instrumentality of the FARC.

          31.     Zerpa is also the Minister of Economy and Finance (i.e. Ministerio de Poder

  Popular de Economia y Finanzas) serving as a member of Maduro’s Cabinet. This purported

  governmental organ of the Maduro regime is under the direct control of Maduro through Zerpa.

  This ministry serves to support the Maduro regime’s grip on power which enables the Cartel of

  the Suns headed by Maduro to move FARC cocaine to the United States and other nations. The

  activities of this government agency are intrinsically tied to Zerpa’s role in perpetuating the illicit

  activities of the Cartel of the Suns and Maduro regime, and cannot be divorced from the control

  of Maduro and Zerpa – his designee to run that purported agency. Thus, it is my opinion that the

  Ministerio de Poder Popular de Economia y Finanzas is also an agent and instrumentality of the

  FARC, as under the control of Maduro and Zerpa, this ministry materially assists and provides

  financial and technical support for the international narcotics trafficking activities of the FARC.




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                                    The Venezuela Currency Exchange Scheme

           32.         From 2003 to 2019, the Venezuelan regime enacted currency controls. The

  currency control program that began as a counter-measure against the effects of a two month

  strike that decimated the oil exports from Venezuela,2 devolved into a primary vehicle for money

  laundering for FARC operatives within or surrounding the Maduro regime (including immediate

  family members of FARC agent and instrumentality Maduro).

           33.      It is my opinion that the Venezuela currency exchange program existed to

  empower certain Venezuelan government officials and/or business associates selected by the

  Maduro regime to launder funds for FARC agents and instrumentalities, such as Maduro’s three

  stepsons, Walter Jacob Gavidia Flores, Yosser Daniel Gavidia Flores, and Yoswal Alexander

  Gavidia Flores (collectively a/k/a “Los Chamos”).3 It is also my opinion that the currency

  exchange program was inextricably tied to financial support of FARC operatives such as Cilia


   2 See Erin Fletcher, Bolívar Distorted: The Effects of Exchange Controls on the Venezuelan Economy Or “Perhaps
   Chávez spent too much time reading Machiavelli and not enough time reading Adam Smith.” Fall 2004. Duke
   Journal of Economics (Available at: https://sites.duke.edu/djepapers/files/2016/08/Fletcher.pdf).
   3 It is my opinion that all three of Los Chamos are agents and instrumentalities of the FARC. They provided

   material support and assistance to FARC operative Saab (who I have opined is a FARC agent and instrumentality in
   paragraph 10 of my July McBrien Sworn Declaration) and are responsible for much of Saab’s opportunity to work
   with the Maduro regime officials on his myriad of illicit activities. As OFAC stated in its July 25, 2019 Press
   Release designating Cilia Adela Flores de Maduro’s sons (Maduro’s stepsons) - Los Chamos:
                     SAAB MEETS “LOS CHAMOS”
                     In 2011, Saab gave Cilia Adela Flores de Maduro’s (Flores) three sons Walter, Yosser,
                     and Yoswal (also known as “Los Chamos”) and their cousin, Carlos Erica Malpica Flores
                     (Malpica), a contract to clear land for the construction of homes in the Venezuelan State
                     of Vargas.…Saab’s relationship with Flores, Los Chamos, and Malpica was key for Saab
                     and Pulido’s access to Government of Venezuela officials, allowing them to pay the
                     requisite bribes and kickbacks to obtain government contracts. Los Chamos would also
                     receive kickbacks from Saab’s companies in return for government contracts. Los
                     Chamos had frequent access to Maduro and Tareck Zaidan El Aissami Maddah (El
                     Aissami), who was designated on February 13, 2017 pursuant to the Foreign Narcotics
                     Kingpin Designation Act for playing a significant role in international narcotics
                     trafficking; El Aissami is the current Minister of Industries and National Production and
                     former Executive Vice President of Venezuela. As a result, Los Chamos were able to
                     manipulate the recipients of government contracts, and Saab had the opportunity to work
                     with the highest levels of the Venezuelan government.
   See Press Release, U.S. Treasury Dept., Treasury Disrupts Corruption Network Stealing From Venezuela's Food
   Distribution Program, CLAP, (Jul. 25, 2019), https://home.treasury.gov/news/press-releases/sm741.

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  Adela Flores de Maduro, the purported First Lady of Venezuela, who was designated by OFAC

  on September 25, 2018 pursuant to E.O. 13692, and who is a member of the Cartel of the Suns.4

  The example set by Raul Gorrin Bellisario (“Gorrin”) and former National Treasurers of

  Venezuela - Alejandro Jose Andrade Cedeno (“Andrade”) and Claudia Patricia Diaz Guillen

  (“Diaz”) illustrate how their control over the Venezuela exchange program achieved these goals.

           34.      On January 8, 2019, the U.S. Treasury Department issued a press release titled

  “Treasury Targets Venezuela Currency Exchange Network Scheme Generating Billions of

  Dollars for Corrupt Regime Insiders” that were designated as SDNs by OFAC on January 8,

  2019, are agentsand instrumentalities of the FARC. See Press Release, U.S. Treasury Dept.,

  Treasury Targets Venezuela Currency Exchange Network Scheme Generating Billions of Dollars

  for Corrupt Regime Insiders (January 8, 2019),                       https://home.treasury.gov/news/press-

  releases/sm583 (the “January 8, 2019 Press Release”). The individuals and entities designated in

  the January 8, 2019 Press Release by OFAC included Gorrin and Diaz among others to wit:

  Claudia Patricia Diaz Guillen, Raul Antonio Gorrin Belisario, Adrian Jose Velasquez Figueroa,

  Leonardo Gonzalez Dellan, Gustavo Adolfo Perdomo Rosales, Maria Alexandra Perdomo

  Rosales, Mayela Antonina Tarascio-Perez, Globovision Tele C.A., Globovision Tele CA, Corp.,

  Seguros La Vitalicia, Corpomedios GV Inversiones, C.A., Corpomedios LLC, RIM Group


   4 It is my opinion that Cilia Adele Flores de Maduro, spouse of Maduro, is an agent and instrumentality of the
   FARC for materially assisting and supporting FARC operative and - head of the Cartel of Suns - Maduro to
   maintain his grip on power while he has engaged in narcotics trafficking of FARC cocaine. Per OFAC’s September
   25, 2018 designation:
                      OFAC designated Nicolas Maduro on July 31, 2017. Today’s designations target key
                      current or former officials of the Venezuelan government. Maduro has relied on key
                      figures, such as previously designated Cabello and El Aissami, and those officials being
                      designated today, to maintain his grip on power.
   See Press Release, U.S. Treasury Dept., Treasury Targets Venezuelan President Maduro’s Inner Circle and Proceeds
   of Corruption in the United States (Sept. 25, 2018), https://home.treasury.gov/news/press-releases/sm495. Cilia
   Adele Flores is also herself a member of the Cartel of the Suns. See Venezuela: A Mafia State?, Insight Crime
   (available at: https://es.insightcrime.org/wp-content/uploads/2018/05/Venezuela-a-Mafia-State-InSight-Crime-
   2018.pdf) (last visited September 8, 2020)


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  Investments, Corp., RIM Group Investments I Corp., RIM Group Investments II Corp., RIM

  Group Investments III Corp., RIM Group Properties of New York, Corp., RIM Group Properties

  of New York II Corp., Magus Holdings USA, Corp., Magus Holding LLC, Magus Holding II

  LLC, Tindaya Properties Holding USA Corp., Tindaya Properties of New York, Corp., Tindaya

  Properties of New York II Corp., Posh 8 Dynamic Inc., Constello No. 1 Corporation, Constello

  Inc., Windham Commercial Group Inc., Planet 2 Reaching Inc., Potrico Corp., and N133JA (a

  Dassault Mystere Falcon 50EX private aircraft) (“January 2020 Designated Individuals and

  Entities”). See id.

          35.     According to the January 8, 2019 Press Release, the January 2020 Designated

  Individuals and Entities were involved “in a significant corruption scheme designed to take

  advantage of the Government of Venezuela’s currency exchange practices, generating more than

  $2.4 billion in corrupt proceeds.” Id. The January 8, 2019 Press Release further states:

                  Today’s designations target individuals who took advantage of a corrupt
                  system within the Venezuelan ONT [Office of the National Treasury],
                  stealing billions of dollars from the Venezuelan people since 2008, under
                  the watch of two Venezuelan National Treasurers, Alejandro Jose Andrade
                  Cedeno (Andrade) and [former Venezuelan National Treasurer Claudia
                  Patricia Diaz Guillen] Diaz. Andrade was sentenced by the United States
                  District Court for the Southern District of Florida on November 27, 2018,
                  to 10 years in prison for accepting over $1 billion in bribes for his role in
                  the below scheme.

   Id.

          The January 8, 2019 Press Release went on to describe the involvement of Gorrin,

   Andrade, and Diaz in the Venezuela currency exchange program:

                  Both Andrade and Diaz, while occupying the role of National Treasurer,
                  used their official positions to give Gorrin, a prominent Venezuelan
                  businessman, access to the ONT’s preferred exchange rates to maximize
                  profits on currency transactions moving through the casas de bolsa, which
                  Gorrin, amongst a select few others that were approved by the ONT,
                  controlled. While Andrade was National Treasurer, he awarded the ONT


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                    exchange business to a limited number of individuals, including Gorrin
                    and Leonardo Gonzalez Dellan (Gonzalez).
                    In return for their selection as the only currency exchange houses
                    approved by the ONT, Gorrin and Gonzalez, another Venezuelan
                    businessman, paid hundreds of millions of dollars in bribes to
                    Andrade. Andrade facilitated the continuation of the bribery scheme by
                    introducing Gorrin to Andrade’s successor, Diaz, when he left the
                    ONT. Gorrin compensated Andrade for introducing him to Diaz, and as
                    a result, allowed the bribery scheme to continue, undeterred. From at
                    least 2011 to 2013, Gorrin paid bribes to Diaz, wiring money to her and
                    her husband, Adrian Jose Velasquez Figueroa (Velasquez), and
                    purchasing assets on their behalf, to include a residence in Cap Cana,
                    Dominican Republic, and an aircraft.
   Id. (emphasis added).
           36.      Gorrin used his involvement in the Venezuela currency exchange program to

  launder funds for members of Maduro’s inner circle. He at times worked with Mathias Krull to

  accomplish the task. Mathias Krull is a German national who was banker to Gorrin. 5 Special

  Agent George F. Fernandez’s Affidavit in support of the Criminal Complaint in United States of

  America v. Francisco Convit Guruceaga, et al., Case No. 18-MJ-03119-TORRES (S.D. Fla. July

  24, 2018) (the “Fernandez Affidavit”) describes the role of Krull and Conspirator 7 in the money

  laundering of PDVSA proceeds on behalf of FARC agents and instrumentalities - Los Chamos:

                    96. In October 2016, the CS met with KRULL in Panama. KRULL
                    explained that he was looking for a bank to deposit approximately
                    600,000,000 U.S. Dollar from a currency exchange with PDVSA on
                    behalf of a client, “CONSPIRATOR 7” …
                    …
                    98. … Per the CS, KRULL explained that the funds came from exchange
                    contracts which generated around 1.2 billion U.S. Dollars. KRULL
                    explained that, in addition to the 600-million-dollar solution for
                    CONSPIRATOR 7, KRULL needed an additional solution for 200 million
                    U.S. Dollars held in European Financial Institution 1 in the name of a

   5  See Criminal Complaint, Affidavit of George F. Fernandez (Special Agent with Homeland Security
   Investigations), United States of America v. Francisco Convit Guruceaga, et al., Case No. 18-MJ-03119-TORRES
   (S.D.       Fla.     July      24,      2018),      D.E.     3      at    3       ¶     12     (Available    at
   https://content.maltatoday.com.mt/ui/files/usa_v._francisco_convit_guruceaga_et_al-_criminal_complaint.pdf.)
   (“Matthias KRULL is a German national and Panamanian resident. KRULL was a high-level banker at a large Swiss
   bank, specializing in Venezuelan clients. KRULL is the personal banker of CONSPIRATOR 7 and others. KRULL
   manages “banking” activities for numerous Venezuelan officials and kleptocrats.”).

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                   straw owner, “CONSPIRATOR 8.” (The CS recognized CONSPIRATOR
                   8 as a straw owner, previously proposed to be used to conceal the money
                   for the stepsons of VENEZUELAN OFFICIAL 2, a.k.a “los chamos,”
                   during a prior meeting with the CONSPIRATOR 8, CONVIT, and “los
                   chamos.”)

                   99. On November 30, 2016, KRULL sent the CS a WhatsApp message
                   with photos of CONSPIRATORS 7 and 8’s Venezuelan passports.
                   KRULL also forwarded an email to the CS explaining the European
                   Financial Institution 1 structure; the email was in fact a string of
                   previously forwarded emails attaching documents from European
                   Financial Institution 1, which had been sent from AMPARAN to
                   “CONSPIRATOR 9,” to CONSPIRATOR 7, to KRULL, and to the CS.

                   100. In early December 2016, the CS informed KRULL of a solution for
                   laundering the additional PDVSA funds….

                   101. In a recorded January 9, 2017 meet [sic] with GUSTAVO in Miami,
                   the CS asked…for a solution similar to…for CONSPIRPATOR’s 7 & 8.
                   …

                   102. In a January 10, 2017 recorded conversation, KRULL noted that
                   “[CONSPIRATOR 7]” is asking if the money can be sent. In another, on
                   January 23, 2017, KRULL said the money at European Financial
                   Institution 1 is ready to be moved to CONSPIRATOR 8 and that “I met
                   the dude, and also met the guy that represents him.” The CS asked, “Are
                   these guys sons?” (meaning the stepsons of VENEZUELAN OFFICIAL
                   2), and KRULL responded, “Nah, Don’t, don’t, don’t, ask.”
                   …

                   105. On March 16, 2017 the CS met with KRULL and Conspirator 8 in
                   Panama…During the meeting, CONSPIRATOR 8 stated that he
                   “represented three persons.” After the meeting, KRULL confided to the
                   CS that he had once seen CONSPIRATOR 8 at CONSPIRATOR 7’s
                   office having lunch with ‘los chamos,” i.e., the stepsons of
                   VENEZUELAN OFFICIAL 2.

   See Fernandez Affidavit at 27- 30, ¶¶ 96-105.

           And, although “Conspirator 7” is unidentified, footnote 12 of the Fernandez Affidavit

   states that “CONSPIRATOR 7 is another reported billionaire member of the “boliburgues” and

   owner of a television network in Venezuela.” See id. at 27, fn. 12. Having reviewed the Criminal

   Complaint, including the Fernandez Affidavit, and based upon my research, I opine that Gorrin


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   is Conspirator 7. This opinion is also supported by credible news articles that covered the

   Criminal Complaint to wit:

          According to the Miami Herald:

                   A Venezuelan TV mogul who has amassed a real estate fortune in South
                   Florida and New York is now at the center of a $1.2 billion money-
                   laundering investigation — put there by a Swiss banker who has admitted
                   guilt and is helping Miami prosecutors build a criminal case against him.
                   Raúl Gorrín, owner of the Globovisión network in Caracas, is suspected of
                   steering $600 million from the country’s state-owned oil company to a
                   European bank to enrich himself, the three stepsons of President Nicolás
                   Maduro and other members of Venezuela’s politically connected elite,
                   according to new court records and multiple sources familiar with the
                   federal probe in Miami. Identified only as “Conspirator 7” in court
                   records, Gorrín collaborated with Swiss banker Matthias Krull to make the
                   massive wire transfer two years ago, sources say.

   See Jay Weaver and Antonio Maria Delgado, Media Mogul with Miami Mansion Emerges as

   Key   Suspect    in     Venezuela   Corruption   Case,   Miami     Herald   (August    24,   2018),

   https://www.miamiherald.com/article217285655.html (last visited September 1, 2020); see also

   Brian Bandell, Luxury Miami Condo Linked to Alleged Billion-dollar Money Laundering

   Scheme,         South        Florida     Business        Journal      (June      26,         2018),

   https://www.bizjournals.com/southflorida/news/2018/07/26/luxury-miami-condo-linked-to-

   allegedbillion-dollar.html (last visited September 1, 2020).

          According to an Associated Press article:

                   In court papers. Krull also was referred to as the “personal banker” for
                   “Conspirator 7,” who is described as the owner of a Venezuelan TV
                   network and billionaire member of the so-called “boliburgues” elites that
                   made fortunes under the Bolivarian revolution started by the late Hugo
                   Chavez. The two people familiar with the case said Conspirator 7 is
                   Raul Gorrin, who became president of Globovision shortly after he and
                   others purchased the popular network in 2013 and softened its anti-
                   government coverage.




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See Swiss banker gets 10 years for Venezuela graft case, Associated Press (October 29, 2018), https://
      apnews.com/ba0d18b4c16b4567a1832d98cb64bdaa (last visited September 1, 2020)

   (emphasis added).

           37.    Furthermore, OFAC has also described Gorrin’s role in money laundering for

  Venezuela government officials of the Maduro regime in the January 8, 2019 Press Release:

                  Raul Gorrin Belisario was indicted by the United States Attorney’s Office
                  for the Southern District of Florida in August 2018 for conspiring to
                  violate the Foreign Corrupt Practices Act, and for conspiring to bribe
                  Venezuelan officials and commit money laundering by hiding embezzled
                  government funds, totaling more than $1 billion, in Florida and New York.
                  Gorrin was also being investigated for misappropriating billions of
                  dollars from Venezuela’s state-owned oil company, Petroleos de
                  Venezuela, S.A. (PDVSA).

                  Gorrin is also thought to have paid several officials to have access to
                  Venezuelan politicians and government officials, and was believed to
                  hold funds on behalf of these individuals in the same way he held funds
                  for Andrade. These individuals include, but are not limited to, Elvis
                  Eduardo Hidrobo Amoroso, who was designated by OFAC on November
                  9, 2017, and Maikel Jose Moreno Perez, a close friend of Gorrin, who was
                  designated by OFAC on May 18, 2017 pursuant to Executive Order (E.O.)
                  13692.

   See January 8, 2019 Press Release (emphasis added).

           38.    Moreover, the January 8, 2019 Press Release also went on to document Gorrin’s

  involvement in providing financial support to FARC agent and instrumentality Cilia Adela Flores

  de Maduro: “Gorrin also purchased gifts for Cilia Adela Flores de Maduro, the First Lady of

  Venezuela, who was designated by OFAC on September 25, 2018 pursuant to E.O. 13692.” See

  id. (emphasis added).

           39.    Furthermore, Gorrin’s indictment recounts how he paid bribes in support of other

  individuals that support FARC agent and instrumentality Maduro in order to secure his power

  over the Venezuela currency exchange program. The indictment alleges:



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                 . . . that Gorrin paid millions of dollars in bribes to two high-level
                 Venezuelan officials, including Andrade, to secure the rights to conduct
                 foreign currency exchange transactions at favorable rates for the
                 Venezuelan government. In addition to wiring money to and for the
                 officials, Gorrin allegedly purchased and paid expenses for them related to
                 private jets, yachts, homes, champion horses, high-end watches and a
                 fashion line. To conceal the bribe payments, Gorrin made payments
                 through multiple shell companies. Gorrin allegedly partnered with
                 Jimenez to acquire Banco Peravia, a bank in the Dominican Republic,
                 to launder bribes paid to Venezuelan officials and proceeds of the
                 scheme.

                 As part of his guilty plea, Andrade admitted that he received over $1
                 billion in bribes from Gorrin and other co-conspirators in exchange for
                 using his position as Venezuelan national treasurer to select them to
                 conduct currency exchange transactions for the Venezuelan
                 government. As part of his plea agreement, Andrade agreed to a forfeiture
                 money judgment of $1 billion and forfeiture of all assets involved in the
                 corrupt scheme, including real estate, vehicles, horses, watches, aircraft
                 and bank accounts.

   See Justice News, U.S. Dept. of Justice, Venezuelan Billionaire News Network Owner, Former

   Venezuelan National Treasurer and Former Owner of Dominican Republic Bank Charged in

   Money Laundering Conspiracy Involving Over $1 Billion in Bribes (Nov. 20, 2018)

   https://www.justice.gov/opa/pr/venezuelan-billionaire-news-network-owner-former-venezuelan-

   national-treasurer-and-former (emphasis added); see also United States of America v. Raul

   Gorrin Belisario, Case No. 9:18-cr-80160-WPD (S.D. Fla. Aug. 17, 2018), D.E. 3 (Available at

   https://www.justice.gov/criminal-fraud/file/1120281/download).

          40.    It is my opinion that former Venezuelan National Treasurers, Andrade and Diaz,

  Gorrin, and the January 2020 Designated Individuals and Entities, are agents and instrumentalities

  of the FARC for their involvement and activities regarding the Venezuela currency exchange

  program, which served as a primary vehicle for money laundering for, and which was inextricably

  tied to the bribery of, FARC operatives within or surrounding the Maduro regime (such as his

  three stepsons, Los Chamos), while such FARC operatives were acting in support of Maduro’s


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  grip on power which enabled his vast international narcotics trafficking of FARC cocaine (with

  impunity in Venezuela). Thus, it is my opinion that Andrade, Diaz, and Gorrin are each agents

  and instrumentalities of the FARC, as their activities materially assisted in, and provided financial

  or technological support for or to, or providing of goods or services in support of, the

  international narcotics trafficking activities of the FARC. 6

           41.     Along with the aforementioned June 2020 Designated Individuals and Entities,

  PdVSA, those in the El Aissami and Lopez Bello Network, Diaz, Gorrin, Cilia Adela Flores de

  Maduro, Los Chamos, and the January 2020 Designated Individuals and Entities, all of which

  OFAC has designated as SDNs and all of whom I have opined herein are agents and

  instrumentalities of the FARC, the following are also agents and instrumentalities of the FARC:

  any entity owned in the aggregate, directly or indirectly, 50 percent or more by one or more of the

  June 2020 Designated Individuals and Entities, PdVSA, those in the El Aissami and Lopez Bello

  Network, Diaz, Gorrin, Cilia Adela Flores de Maduro, Los Chamos, or the January 2020

  Designated Individuals and Entities, and each such entity (a “SDN-Owned Entity”) is a blocked

  person. Further, each such SDN-Owned Entity that is listed as blocked by OFAC is also an agent

  and instrumentality of the FARC. See U.S. Dep’t Treasury, Revised Guidance on Entities Owned

   6 It is also well documented that the Venezuela currency exchange program is a critical component in enabling
   money laundering of proceeds from the sale of FARC cocaine. As documented by the Sun Sentinel, the money
   laundering of narco-trafficked funds worked as follows:
                      Federal authorities say the scheme often works like this: Drug traffickers in the United
                      states make millions of dollars selling heroin and cocaine smuggled from South America.
                      They pay someone to pick up the cash in Puerto Rico or New York and bring it to South
                      Florida.
                      Brokers in South Florida buy the tainted money and sell it at an inflated price to
                      businesses in Venezuela. The brokers use the drug dollars to pay U.S. bills on behalf of
                      the business owners, who in turn deposit bolivares in Venezualan banks.
                      The Bolivares pay off drug traffickers in Venezuela and the cycle begins again.
   See Alexia Campbell, Drug money laundered in South Florida fuels U.S.-Venezuela trade, Sun Sentinel (Dec. 18,
   2011)            https://www.sun-sentinel.com/news/fl-xpm-2011-12-18-fl-venezuelan-money-laundering-20111217-
   story.html (last visited September 1, 2020).



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  by Persons Whose Property and Interests in Property are Blocked, (Aug. 13, 2014), attached

  hereto as Exhibit H. And further, the property and interests in property of any such SDN-Owned

  Entity are blocked regardless of whether the entity itself is listed in the annex to an Executive

  Order or otherwise placed on OFAC's list of Specially Designated Nationals. Id.

          42.     The assets of such agents and instrumentalities of the FARC are "blocked assets"

  executable under TRIA, as are property of any entity in which such blocked persons own, whether

  individually or in the aggregate, directly or indirectly a 50% or greater interest. See id.



   I declare under the penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true




   Dated: September   t     2020




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